Case 8:19-cv-01257-JFW-PJW Document 31-1 Filed 08/19/19 Page 1 of 2 Page ID #:185




                         EXHIBIT A
         Case 8:19-cv-01257-JFW-PJW Document 31-1 Filed 08/19/19 Page 2 of 2 Page ID #:186

                                 State of California                                             S
                                    Secretary of State
                              Statement of Information                                                                   FT91449
              (Domestic Stock and Agricultural Cooperative Corporations)
                            FEES (Filing and Disclosure): $25.00.
                         If this is an amendment, see instructions.
                                                                                                                        FILED
       IMPORTANT – READ INSTRUCTIONS BEFORE COMPLETING THIS FORM                                           In the office of the Secretary of State
1. CORPORATE NAME                                                                                                 of the State of California
LEND TECH LOANS, INC.

                                                                                                                       JAN-23 2018


2. CALIFORNIA CORPORATE NUMBER
                                               C4036800                                                            This Space for Filing Use Only

No Change Statement (Not applicable if agent address of record is a P.O. Box address. See instructions.)
3.    If there have been any changes to the information contained in the last Statement of Information filed with the California Secretary
      of State, or no statement of information has been previously filed, this form must be completed in its entirety.
            If there has been no change in any of the information contained in the last Statement of Information filed with the California Secretary
            of State, check the box and proceed to Item 17.

Complete Addresses for the Following (Do not abbreviate the name of the city. Items 4 and 5 cannot be P.O. Boxes.)
4.    STREET ADDRESS OF PRINCIPAL EXECUTIVE OFFICE                                          CITY                           STATE        ZIP CODE
1851 E. FIRST ST. #810, SANTA ANA, CA 92705
5.    STREET ADDRESS OF PRINCIPAL BUSINESS OFFICE IN CALIFORNIA, IF ANY                     CITY                           STATE        ZIP CODE
1851 E. FIRST ST. #810, SANTA ANA, CA 92705
6.    MAILING ADDRESS OF CORPORATION, IF DIFFERENT THAN ITEM 4                              CITY                           STATE        ZIP CODE


7.    EMAIL ADDRESS FOR RECEIVING STATUTORY NOTIFICATIONS


Names and Complete Addresses of the Following Officers (The corporation must list these three officers. A comparable title for the specific
officer may be added; however, the preprinted titles on this form must not be altered.)
7.    CHIEF EXECUTIVE OFFICER/                ADDRESS                                       CITY                           STATE        ZIP CODE
     SERGIO LOZA        1851 E. FIRST ST. #810, SANTA ANA, CA 92705
8.    SECRETARY                               ADDRESS                                       CITY                           STATE        ZIP CODE
     SERGIO LOZA        1851 E. FIRST ST. #810, SANTA ANA, CA 92705
9.    CHIEF FINANCIAL OFFICER/                ADDRESS                                       CITY                           STATE        ZIP CODE
     SERGIO LOZA        1851 E. FIRST ST. #810, SANTA ANA, CA 92705
Names and Complete Addresses of All Directors, Including Directors Who are Also Officers (The corporation must have at least one
director. Attach additional pages, if necessary.)
10. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE
 SERGIO LOZA            1851 E. FIRST ST. #810, SANTA ANA, CA 92705
11. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE


12. NAME                                      ADDRESS                                       CITY                           STATE        ZIP CODE


13. NUMBER OF VACANCIES ON THE BOARD OF DIRECTORS, IF ANY:
Agent for Service of Process If the agent is an individual, the agent must reside in California and Item 15 must be completed with a California street
address, a P.O. Box address is not acceptable. If the agent is another corporation, the agent must have on file with the California Secretary of State a
certificate pursuant to California Corporations Code section 1505 and Item 15 must be left blank.
14. NAME OF AGENT FOR SERVICE OF PROCESS
 SERGIO LOZA
15. STREET ADDRESS OF AGENT FOR SERVICE OF PROCESS IN CALIFORNIA, IF AN INDIVIDUAL CITY                                    STATE        ZIP CODE
 1851 E. FIRST ST. #810, SANTA ANA, CA 92705
Type of Business
16. DESCRIBE THE TYPE OF BUSINESS OF THE CORPORATION
 MORTGAGE LENDER
17. BY SUBMITTING THIS STATEMENT OF INFORMATION TO THE CALIFORNIA SECRETARY OF STATE, THE CORPORATION CERTIFIES THE INFORMATION
    CONTAINED HEREIN, INCLUDING ANY ATTACHMENTS, IS TRUE AND CORRECT.
01/23/2018             SERGIO LOZA                                            CEO
     DATE                TYPE/PRINT NAME OF PERSON COMPLETING FORM                      TITLE                              SIGNATURE
SI-200 (REV 01/2013)                                                 Page 1 of 1                                    APPROVED BY SECRETARY OF STATE
